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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


UNITED STATES OF AMERICA

              vs                                      CR NO. 2:17-CR-00283-RMG


ZAKARYIA ABDIN
                                        PLEA


       The defendant, ZAKARYIA ABDIN, having withdrawn his plea of Not Guilty entered

on April 5, 2017, pleads GUILTY to Count(s) _ _ _ _l _ _ _ of the Indictment after

arraignment in open court.




Charleston, South Carolina
August 8, 2018
